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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA, et al.                  )
  ex rel. CARL IRELAND, as Administrator of         )
  the Estate of JAMES GARBE,                        )
                                                    )
           Plaintiffs,                              )
                                                    )      Case No. 3:12-cv-00881-NJR-RJD
  vs.                                               )
                                                    )
  KMART CORPORATION,                                )
                                                    )
           Defendant.                               )

                         JOINT MOTION TO AMEND SETTLEMENT TERMS

        As the parties have previously advised the Court, they have agreed to an amendment of the

  terms of the security provisions of the settlement between the United States, Relator, and Kmart

  Corporation. A copy of the letter agreement amending the settlement is attached hereto as

  Exhibit 1. The parties jointly request the Court’s approval of the amendment.


                                                        Respectfully submitted,

                                                        KOREIN TILLERY LLC

  Dated: August 24, 2018                                 /s/ Robert L. King
                                                        Robert L. King
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  U.S. DEPARTMENT OF JUSTICE                            KING & SPALDING LLP

   /s/ Allie Pang                                        /s/ William F. Johnson
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                                  CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing document with

  the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

  all registered users.

                                                       KOREIN TILLERY LLC

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